Case:14-08561-MCF13 Doc#:51 Filed:09/23/15 Entered:09/23/15 17:23:43   Desc: Main
                           Document Page 1 of 5
Case:14-08561-MCF13 Doc#:51 Filed:09/23/15 Entered:09/23/15 17:23:43   Desc: Main
                           Document Page 2 of 5
Case:14-08561-MCF13 Doc#:51 Filed:09/23/15 Entered:09/23/15 17:23:43   Desc: Main
                           Document Page 3 of 5
Case:14-08561-MCF13 Doc#:51 Filed:09/23/15 Entered:09/23/15 17:23:43   Desc: Main
                           Document Page 4 of 5
Case:14-08561-MCF13 Doc#:51 Filed:09/23/15 Entered:09/23/15 17:23:43   Desc: Main
                           Document Page 5 of 5
